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(Rev 1/92)
Report and Order Terminating Conditional Release

 

UNITED STATES DISTRICT COURT

FOR THE

SOUTHERN DISTRICT OF FLORIDA
UNITED STATES OF AMERICA
Crim. No. 88-128-CR-HURLEY
V. SD/FL PACTS No. 82380

ROBERT DEAN CLARK

On February 21, 2003, the above named was placed on conditional release, pursuant to the
provisions of Title 18 U.S.C. § 4243(e). The conditional releasee has complied with the rules and
regulations of conditional release and is no longer in need of supervision. It is accordingly
recommended that the conditional releasee be discharged from supervision.

Respectfully submitted,

 

Senior U. S. Probation Officer
Marseia Y. Roland
Phone: (561) 804-6895

ORDER OF COURT
Pursuant to the above report, it is ordered that the probationer/supervised releasee be
discharged from supervision and that the proceedings in the case be terminated.

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Dated this__/a@___ day of , 2008.

 
   

United States District Tudge
Daniel T. K Hurley
